                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION

    UNITED STATES OF AMERICA,

                 Plaintiff,                                 No. CR22-4073-LTS

    vs.
                                                                   ORDER
    BOBBY RAY RHODEN,

                 Defendant.



          This matter is before me on a Report and Recommendation (Doc. 110) in which
the Honorable Kelly K.E. Mahoney, Chief United States Magistrate Judge, recommends
that I grant the Government’s oral motion (Doc. 109) to dismiss Count 3 of the
superseding indictment. Neither party has filed objections.
          As noted by Judge Mahoney, the grand jury returned a second superseding
indictment (Doc. 94) on September 14, 2023, which is nearly identical to the superseding
indictment (Doc. 69), except that it does not charge Rhoden with Count 3.1 At the
arraignment on the second superseding indictment, the Government orally moved to
dismiss Count 3 of the superseding indictment, which defendant does not oppose. Judge
Mahoney noted that a “superseding indictment and original indictment can co-exist” and
that “a superseding indictment does not in effect dismiss the original indictment.” Doc.
110 at 1 (quoting United States v. Walker, 363 F.3d 711, 715 (8th Cir. 2004)). As such,
she recommends granting the Government’s motion by dismissing the entire superseding
indictment, which includes Count 3.



1
 The second superseding indictment also alleges the possession of some additional ammunition
not mentioned in the superseding indictment and corrects dates of defendant’s prior convictions.
See Doc. 94.



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      Because neither party has objected to the Report and Recommendation, I have
reviewed it for clear error. See, e.g., Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir.
1996) (noting that when no objections are filed “[the district court judge] would only
have to review the findings of the magistrate judge for clear error.”). I find no error –
clear or otherwise – in Judge Mahoney’s recommendation. I agree that dismissal of the
entire superseding indictment is appropriate. That will have the effect of dismissing
Count 3 alone in light of the fact that the other counts remain intact in the second
superseding indictment.
      As such, I accept the Report and Recommendation (Doc. 110) without
modification. See 28 U.S.C. § 636(b)(1). Pursuant to the Report and Recommendation
(Doc. 110), the Government’s motion (Doc. 109) to dismiss Count 3 of the superseding
indictment is granted and, as recommended by Judge Mahoney, the entire superseding
indictment (Doc. 69) is hereby dismissed.


      IT IS SO ORDERED.
      DATED this 6th day of October, 2023.




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                                        Leonard T. Strand, Chief Judge




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